Case 2:94-cr-00163-RBS Document 1171 Filed 04/05/22 Page 1 of 9 PagelD# 1930

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA
Norfolk Division

UNITED STATES OF AMERICA,

v. CRIMINAL NO. 2:94cr163-1

ROBERT GILLINS,
Defendant.
MEMORANDUM ORDER

This matter comes before the court on Defendant’s Motion to
Reduce Sentence Pursuant to the First Step Act of 2018 (“Motion”),
filed on October 1, 2021. ECF No. 1160. In the Motion, Defendant
requests that the court reduce his sentence under the First Step
Act of 2018, Pub. L. No. 115-391, 132 Stat. 5194, pursuant to 18
U.S.C. § 3582(c) (1) (B).

I.

On March 2, 1995, Defendant pleaded guilty to Counts Two and
Thirteen of the Indictment. See ECF No. 249. Count Two charged
Defendant with being involved in a Continuing Criminal Enterprise,
in violation of 21 U.S.C. § 848{a) and (c). On this Count,
Defendant faced a minimum of twenty (20) years imprisonment and a
maximum of life imprisonment. On June 12, 1995, the court sentenced
Defendant to life. See ECF No. 392. Count Thirteen charged
Defendant with Monetary Laundering and Conspiracy, in violation of

18 U.S.C. § 1956(a) (1) (B) (i) and (a) (2). On this Count, Defendant
Case 2:94-cr-00163-RBS Document 1171 Filed 04/05/22 Page 2 of 9 PagelD# 1931

faced up to twenty (20) years of imprisonment. The court sentenced
Defendant to twenty (20) years, to run concurrently with the life
sentence. See ECF No. 392.

On October 1, 2021, Defendant filed the Motion. ECF No. 1160.
The United States filed a Response in opposition on
December 14, 2021. ECF No. 1166. Defendant filed a Reply on
January 13, 2022. ECF No. 1167. The Probation Office filed a First
Step Act Presentence Investigation Report (“PSR”), ECF No. 1162,
on October 18, 2021, and filed a First Step Act Worksheet, ECF No.
1164, on November 10, 2021.

Il.

Defendant seeks a sentence reduction pursuant to § 404(b) of
the First Step Act, which states:

A court that imposed a sentence for a covered offense

may, on motion of the defendant, the Director of the

Bureau of Prisons, the attorney for the Government, or

the court, impose a reduced sentence as if sections 2

and 3 of the Fair Sentencing Act of 2010 (Public Law

111-220; 124 Stat. 2372) were in effect at the time the

covered offense was committed.
Pub. L. No. 115-391, § 404(b), 132 Stat. 5194, 5222 (2019).

The First Step Act in § 404(a) defines a “covered offense” as
“a violation of a Federal criminal statute, the statutory penalties
for which were modified by [S]ection 2 or 3 of the Fair Sentencing

Act of 2010, that was committed before August 3, 2010.” Id.

§ 404(a), 132 Stat. at 5222.
Case 2:94-cr-00163-RBS Document 1171 Filed 04/05/22 Page 3 of 9 PagelD# 1932

When modifying sentences under the First Step Act, courts
“may modify an imposed term of imprisonment to the extent otherwise
expressly permitted by statute or by Rule 35 of the Federal Rules
of Criminal Procedure.” 18 U.S.C. § 3582(c) (1) (B); see United

States v. Wirsing, 943 F.3d 175, 183 (4th Cir. 2019) (“We hold

 

that § 3582(c) (1) (B) is the appropriate vehicle for a First Step
Act motion.”). In determining a defendant's eligibility under
§ 3582(c) (1) (B), a court “must look to the applicable statute to
determine the extent to which modification is expressly permitted
by [that] statute.”  Wirsing, 943 F.3d at 185 (quoting
§ 3582(c) (1) (B) (internal quotations omitted)).

Defendant makes two sets of arguments for why his conviction
under 21 U.S.C. § 848(a) and (c) counts as a “covered offense”
under the First Step Act. The first set focuses on the Fair
Sentencing Act modifications to the statutory penalties in 21
U.S.C. § 848(b). See ECF No. 1160 at 5; ECF No. 1167 at 4. Defendant
argues that because the penalties for at least one § 848
subparagraph has been modified, the court may resentence him even
though the Fair Sentencing Act did not modify the penalties for
the specific § 848 subparagraph of his offense. See ECF No. 1160
at 5-6; ECF No. 1167 at 3 (admitting that the Fair Sentencing Act
did not change the penalty provision in § 848(a)). Defendant also
argues that it would defy the “the text and spirit of the First

Step Act” to deny Defendant relief but allow relief for a defendant

3
Case 2:94-cr-00163-RBS Document 1171 Filed 04/05/22 Page 4 of 9 PagelD# 1933

sentenced pursuant to § 848(b), because the offenses involve
similar conduct and have overlapping statutory structures. ECF No.
1167 at 5. Lastly, Defendant argues that because he “could have
received the penalty of mandatory life imprisonment set forth in
21 U.S.C. § 848(b) based on the elements charged in his indictment

the Fair Sentencing Act modified the statutory penalties in
his case.” ECF No. 1167 at 5-6.

These arguments ask the court to overstep its authority based
in the First Step Act. The Supreme Court recently explained that
the First Step Act directs the court’s “focus to the statutory
penalties for petitioner's offense, not the statute or statutory
scheme.” Terry v. United States, 141 S. Ct. 1858, 1863 (2021)
(emphasis in original). A crime is not a “covered offense” merely
because a part of the overarching statutory scheme, governing other
offenses, was modified by the Fair Sentencing Act. See id. The
Supreme Court in Terry found that a defendant who was convicted
under 21 U.S.C. § 841(b) (1) (C) could not request a First Step Act
resentencing even though § 841(b) (1) (A) and (b) (1) (B) count as
covered offenses. See 141 S. Ct. at 1863-64. The Supreme Court
emphasized that no statutory penalty changed for subparagraph (C)
offenders. See id. at 1863. In his Motion, Defendant tries to lump
the subparagraphs of § 848 together, labeling them all as “covered
offenses.” See ECF No. 1167 at 4-6. However, the Fair Sentencing

Act changed nothing in § 848(a) or (c). Under Terry, the court’s
Case 2:94-cr-00163-RBS Document 1171 Filed 04/05/22 Page 5 of 9 PagelD# 1934

analysis focuses on whether the Fair Sentencing Act modified the
statutory penalties for Defendant’s specific offense. See Terry,
141 S$. Ct. at 1863. Applying that framework, Defendant’s offense
under § 848(a) and (c) does not count as a “covered offense.”

Defendant’s second set of arguments emphasize the reliance of
§ 848 (a) and (c) on underlying covered offenses. Defendant argues
that his violation of § 848 (a) and (c) is a “covered offense,”
because his Indictment for § 848(a) and (c) references predicate
“covered offenses” like 21 U.S.C. §§ 841 and 846. See ECF No. 1167
at 3 (citing United States v. Hall, No. 2:93-cr-162-RAJ-1, ECF No.
860, at 9-10 (E.D. Va. Mar. 2, 2020) (Jackson, J.)). A continuing
criminal enterprise charge, under § 848(c), requires the
government to prove a series of violations of federal drug laws.
See ECF No. 1167 at 2. Defendant’s Indictment alleges violations
of §§ 841(a) (1) and 846 as the predicate offenses for the § 848 (a)
conviction. See ECF No. 1167 at 2. Defendant argues that he does
not need to show a modification to the penalty provision for his
conviction, but rather only a modification to the penalty provision
for any federal criminal statute he violated. See id. at 3.

This line of reasoning cannot be reconciled with Terry. While
the Fair Sentencing Act did modify some of the statutory penalty
ranges for these underlying drug laws, the Act simply did not
modify the statutory penalty range for § 848(a) and (c). Whether

Defendant’s offense of conviction involved a modified predicate
Case 2:94-cr-00163-RBS Document 1171 Filed 04/05/22 Page 6 of 9 PagelD# 1935

offense does not impact the court’s analysis. Defendant’s position
would expand the resentencing eligibility under the First Step Act
to any offense that incorporates or references a “covered offense.”
See ECF No. 1167 at 3. In contrast, the language of the First Step
Act and the Supreme Court’s holding in Terry limit the court’s
analysis to Defendant’s offense of conviction: § 848(a) and (c).
See 141 S. Ct. at 1863. Defendant’s eligibility under the First
Step Act ends with the straightforward conclusion that the Fair
Sentencing Act did not alter the statutory penalty range for
§ 848(a) and (c).
III.

Even if Defendant’s conviction under § 848 (a) and (c) counted
as a covered offense, a sentence reduction would not be appropriate
at this juncture. As an initial matter, the court finds that
applying the revised Guidelines under the Fair Sentencing Act has
no effect on Defendant’s judgment. Under the revised Guidelines,
Defendant’s total offense level remains forty-six (46) and
Defendant's Guideline sentencing range remains two hundred forty
(240) months to life. See ECF No. 1164.

Once a court recalculates the Guideline range, it must then
reconsider the sentence in light of the factors set forth in 18
U.S.C. § 3553(a). See United States v. Lancaster, 997 F.3d 171,
175 (4th Cir. 2021). Having reconsidered these factors, the court

finds that they weigh against a reduction in sentence. The court

6
Case 2:94-cr-00163-RBS Document 1171 Filed 04/05/22 Page 7 of 9 PagelD# 1936

acknowledges Defendant’s youth at the time of the offense and
commends Defendant for his behavior while incarcerated, but the
court cannot overlook the seriousness of Defendant’s offense
conduct. Defendant participated in a massive, multi-state drug
conspiracy that lasted for five (5) years. See PSR (7 1, 24, 27.
The conspiracy relied on murder, assault, shootings, arson, and
abduction to further the conspiracy. See id. at 9 26. Defendant
also had a leadership role in the conspiracy for the Tidewater
area, with a four-point enhancement assessed at sentencing. See
id. at 7 29; ECF No. 1164. Defendant's relevant criminal conduct
included assaulting people, threatening people at gunpoint, and
shooting people. See, e.g., PSR W154, 64, 70, 104. The court finds
that his offense conduct and record of violence counsel against a
reduction. Furthermore, while young, Defendant already had a
criminal history category of III. Id. at 7 288. This category and
his high offense level justified his life sentence as “sufficient,

but not greater than necessary.”! 18 U.S.C. § 3553(a). Any

 

1 While the court considers every defendant’s case separately
on its own facts and merits, the court notes that three of
Defendant's co-defendants also received life sentences and then
subsequent sentence reductions under the First Step Act: Jeffrey
Maillard, Bernard King, and Samuel Kelly. Unlike Defendant, their
offense conduct included “covered offenses,” qualifying them for
resentencing.

Jeffrey Maillard was sentenced to life imprisonment under
Count One of the Indictment for Conspiring to Distribute and
Possessing with Intent to Distribute 5 Kilograms or More of Cocaine
and 50 Grams or More of Cocaine Base, in violation of 21 U.S.C.
Case 2:94-cr-00163-RBS Document 1171 Filed 04/05/22 Page 8 of 9 PagelD# 1937

reduction would not reflect the seriousness of the offense, promote
respect for the law, or provide adequate deterrence. See id.
Iv.

For the reasons stated in Section II, the court finds that
Defendant failed to show his eligibility for a sentence reduction
under the First Step Act. Furthermore, for the reasons stated in
Section III, the 18 U.S.C. § 3553(a) factors do not support a
reduction. Accordingly, the court DENIES Defendant’s Motion,
ECF No. 1160, for a reduction in sentence.

The Clerk is DIRECTED to send a copy of this Memorandum Order
to counsel for Defendant, the United States Attorney at Norfolk,

and the United States Probation Office at Norfolk.

 

§§ 846 and 841(a) (1) and (b) (1) (A) (ii)-(i11). ECF No. 1078. He
received a three-point role enhancement at sentencing. Id.
Pursuant to the First Step Act, he received a revised Guideline
range from life down to three hundred sixty (360) months to life
and received a sentence reduction from life to three hundred sixty
(360) months. ECF Nos. 1078, 1106, 1107.

Bernard King received a life sentence for Count One of the
same Indictment. ECF No. 1079. He received a three-point role
enhancement at sentencing. Id. Pursuant to the First Step Act, he
received no change to his Guideline range of life but received a
sentence reduction from life to four hundred twenty (420) months.
ECF Nos. 1079, 1093, 1094.

Samuel Kelly received a life sentence under Count One of the
same Indictment; Count Two, Engaging in a Continuing Criminal
Enterprise, in violation of 21 U.S.C. § 848(a) and (c); and Count
Eleven, Conspiring to Commit Money Laundering, in violation of 16
U.S.C. § 1956(g). ECF No. 1114. He received a four-point role
enhancement at sentencing. Id. Pursuant to the First Step Act, he
received no change to his Guideline range of life but received a
sentence reduction from life to four hundred fifty (450) months
running coneurrently with all other counts. ECF Nos. 1114, 1133.

8
Case 2:94-cr-00163-RBS Document 1171 Filed 04/05/22 Page 9 of 9 PagelD# 1938

yy __ CB

Rebecca Beach Smith —
IT IS SO ORDERED. Senior United States District Judge

 

REBECCA BEACH SMITH
SENIOR UNITED STATES DISTRICT JUDGE

April i , 2022
